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                     Exhibit
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     J2Q7FLAC
1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    CITY OF ALMATY, et al,

4                      Plaintiffs,

5                 v.                                15 Civ. 5345 (AJN)(KHP)

6    MUKHTAR ABLYAZOV, et al.,

7                      Defendants.

8    ------------------------------x
                                                    New York, N.Y.
9                                                   February 26, 2019
                                                    12:00 p.m.
10
     Before:
11
                            HON. KATHARINE H. PARKER
12
                                                    Magistrate Judge
13
                                    APPEARANCES
14
     BOIES SCHILLER FLEXNER LLP
15        Attorneys for Plaintiffs City of Almaty and BTA Bank
     BY: CRAIG WENNER
16        MATTHEW SCHWARTZ

17   BLANK ROME LLP
          Attorneys for Defendant Triadou SPV S.A.
18   BY: ALEX HASSID
          DEBORAH SKAKEL
19        ROBYN MICHAELSON

20   SOLOMON & CRAMER LLP
          Attorneys for Defendants
21        Viktor Khrapunov and Ilyas Khrapunov
     BY: ANDREW SOLOMON
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1               So, our proposal is to let them subpoena Litco, to

2    allow us to turn over the unredacted billing records that show

3    meetings with Arcanum.      Again, we're not opposed to certain

4    limited discovery into who at Litco and Arcanum knew what and

5    when.   We would certainly object and try to protect core work

6    product about strategy and discovery into asset recovery

7    specifically.     We think we can do this limited discovery

8    subject to a ruling that we're not going to waive privilege.

9               Meanwhile, we think -- I expect the defendant to say

10   they still need to brief or have the common interest privilege

11   issue decided -- which we can proceed on and receive

12   briefing -- but this way at least we can do sanctions once at

13   the end rather than sanctions for what the Khrapunovs request,

14   Triadou gets discovery, and then sanctions again in response to

15   Triadou later.

16              THE COURT:    All right.    Thank you, Mr. Wenner.

17              I'd like to hear from Triadou and also the Khrapunovs

18   on this issue, and I am of the mind that we should try to

19   streamline this.     And I did briefly skim through the motions

20   filed by Triadou and the Khrapunovs, and I guess what I want to

21   clarify is one of the motions dealt with the two witnesses

22   recently identified by plaintiff on their Rule 26 disclosure,

23   and, as I understand what Mr. Wenner just said, is that

24   plaintiffs do not oppose their being deposed.

25              MR. WENNER:    That's correct, your Honor.       And we're


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1    happy to try to facilitate those depositions.          I just want to

2    be clear that they are not currently employees, but we believe

3    that we can.

4               THE COURT:    Where are those two witnesses?

5               MR. WENNER:    They are in Kazakhstan, and we believe we

6    can facilitate the depositions by video conference in

7    Kazakhstan, and we would have to come back to your Honor to see

8    if it's possible for them to agree to fly here.          We don't have

9    an answer to that.

10              THE COURT:    All right.    So, let's first address that

11   issue, because maybe we can streamline some of the issues

12   raised in the defendant's motion.

13              MR. HASSID:    Sure, your Honor.     With respect to these

14   two witnesses, I won't rehash what is in the brief about why we

15   think there is an issue.

16              But just to begin, we were aiming for preclusion of

17   those witnesses because we think that runs afoul, and if

18   they're precluded, then the depositions don't need to happen.

19              Secondarily, our request for depositions wasn't we

20   should depose them.      It's we shouldn't be wasting our time or

21   plaintiff's time or anyone's time or money on such depositions

22   unless the witnesses are actually going to be called at trial.

23   So, forcing everyone to potentially even to have these

24   witnesses who when they were disclosed appeared to be current

25   BTA employees, they were listed with BTA as their address -- we


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1               THE COURT:    OK.

2               OK.   So, that's one aspect of your motion, those two

3    witnesses.    Then the other aspect of your motion, as I glean

4    from my quick skim of it, was disclosure of certain information

5    listed on plaintiff's privilege log, on the grounds that that

6    information is not properly withheld on the basis of common

7    interest privilege.      Is that correct?

8               MR. HASSID:    That is correct.     And on that score your

9    Honor may recall from your Litco order, which was ECF 901, you

10   had indicated that it was premature to address communications

11   between Almaty and BTA, or Arcanum and Litco, because we didn't

12   have a log or identification of communications.          So, that was

13   sort of a natural outflow of getting that privilege log in

14   December.

15              To Mr. Wenner's point about whether Triadou would then

16   consider a second sanctions motion, to be frank, your Honor, I

17   don't think that's something we've considered.          I'm not saying

18   it wouldn't happen or that there might not be a motion in

19   limine down the road seeking an adverse inference of some kind,

20   but I do think that we expect that our current motion would

21   resolve the misconduct regarding the obfuscation of Litco.

22              In other words, if we win on common interest

23   privilege, I don't expect we would go back and do it again,

24   unless there was something truly egregious in there.           And we

25   don't know what we would find.


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1               THE COURT:    And why have you not subpoenaed Litco

2    directly, as Mr. Wenner suggested you should have?

3               MR. HASSID:    Perhaps, your Honor, that was confusion

4    on our part for not doing so, but we had been arguing and

5    agreeing that fact discovery was closed and no new efforts to

6    take fact discovery could be conducted.

7               So, we perhaps should have sought leave to do it, but

8    I think we figured that in our sanctions motion there is

9    actually a request for a deposition of Litco in a 30(b)(6)

10   capacity or Arcanum if needed.        Again, we're trying to do it in

11   such a way that we're not forcing more depositions on the

12   parties if they can be avoided.

13              But, you know, on the 502 point, we said on the meet

14   and confer that we don't view it as taking a different

15   position.    The Khrapunovs had asked for reproduction of Litco

16   invoices without redactions, and had talked about doing it

17   under a502(d) order.      Triadou took no position on that, but

18   there is certainly a difference in statements in an invoice

19   that might describe work that was performed versus the Litco

20   agreement, which is what we wouldn't accede to a 502(d) order

21   on, because that agreement we viewed as not privileged from the

22   outset.    In other words, I'm just clarifying that we don't view

23   it as taking an inconsistent position on 502.

24              THE COURT:    Right.   What I understand you to be saying

25   is that potentially invoices might contain work product that is


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1    properly characterized as work product, whereas the agreement

2    itself you took the position was not privileged and, therefore,

3    not properly subject to a Rule 502 order.

4               MR. HASSID:    That's exactly right.

5               THE COURT:    OK, very good.

6               So, I'd like to hear from Mr. Solomon with regard

7    to -- you have a motion for sanctions also, and I would like to

8    hear from you regarding the timing of all of this and some of

9    the suggestions that plaintiffs have made regarding depositions

10   of individuals.

11              MR. SOLOMON:    So, thank you, your Honor.       I have not

12   sought any additional discovery.

13              THE COURT:    Right.

14              MR. SOLOMON:    Because my position has been for a long

15   time that discovery should be over and that we'd like to get

16   this case resolved.

17              And, you know, to that point I just would point out

18   that one of the aspects of our motion is Frank Monstray.            And,

19   you know, Einstein defines the definition of insanity as doing

20   the same thing over and over again, expecting different

21   results.    So, I have been complaining about Monstray a lot, but

22   the fact is BTA settled with Monstray in May of 2017 or the

23   beginning of June 2017.      They had him in their control for over

24   a year.    All this stuff about Trade Stock was available to them

25   during the fact discovery.        And had we gotten the materials, we


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1    might have had a whole different fact discovery experience in

2    this case.    But now everything is being done in this sort of

3    post fact discovery, which is of great prejudice to the

4    defendants.

5               So, you know, I think that everything that should have

6    come out of Monstray, that didn't because they sat on Monstray

7    and didn't disclose him for a whole year -- just like Sater,

8    everything that should have come out from Sater and Litco that

9    they didn't disclose and their witnesses lied about -- none of

10   that stuff should be part of the case.         So, I don't need more

11   discovery; what I need is less evidence.

12              THE COURT:    You're seeking preclusion of Sater and

13   Monstray as witnesses and preclusion of these two additional

14   witnesses that were recently identified, although mentioned in

15   various documents, interrogatory responses and the like.

16              MR. SOLOMON:    Well, technically Triadou -- I didn't

17   duplicate what Triadou did, so that's Triadou's motion.

18              THE COURT:    Right.   But I think you joined in what

19   they were requesting; is that right?

20              MR. SOLOMON:    Yes.   And also sort of the fruit of the

21   poisonous Sater tree.

22              THE COURT:    Right.

23              MR. SOLOMON:    Unless your Honor has any other

24   questions, I'm not looking for more discovery; I'm looking for

25   a dismissal of my case on mootness grounds.


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